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                     IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF DELAWARE




CONSUMER FINANCIAL PROTECTION
BUREAU                                               C.A. No. 17-cv-01323 (MN)

                Plaintiff,

                v.

 THE NATIONAL COLLEGIATE MASTER
 STUDENT LOAN TRUST, et al.

                Defendants.




   DECLARATION OF GABRIEL HOPKINS FOR PLAINTIFF CONSUMER
    FINANCIAL PROTECTION BUREAU IN SUPPORT OF PLAINTIFF’S
   REPLY IN SUPPORT OF ITS MOTION TO APPROVE THE PROPOSED
                     CONSENT JUDGMENT

I, GABRIEL HOPKINS, hereby declare and state as follows:

   1.   I am lead counsel for Plaintiff Consumer Financial Protection Bureau in the above-

captioned matter. I submit this Declaration in support of Plaintiff’s Reply in Support of its

Motion to Approve the Proposed Consent Judgment.

   2. Attached as Exhibit A is a true and correct copy of an email exchange between Ed

Keefe, of the Bureau, and Dorie Costello, of Wilmington Trust Company, dated May 9, 2016 to

May 13, 2016.

   3. Attached as Exhibit B is a true and correct copy of CPFB Bulletin No. 2001-04, Notice

& Opportunity to Respond & Advise (NORA) (2011), attached to the May 9, 2016 email from

Ed Keefe to Dorrie Costello reproduced in Exhibit A.




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   4. Attached as Exhibit C is a true and correct copy of excerpts of the deposition testimony

of Dorie Costello, sitting as 30(b)(6) designee for Wilmington Trust Company, dated January 10,

2020.

   5. Attached as Exhibit D is a true and correct copy of a document entitled “Issuer Order”

sent by Wilmington Trust Company to GSS Data Services, Inc, dated August 8, 2016.

   6. Attached as Exhibit E are true and correct copies of statements of payments from

Defendant Trusts’ accounts dated September 26, 2016.

   7. Attached as Exhibit F are true and correct copies of statements of payments from

Defendant Trusts’ accounts dated November 26, 2016.

   8. Attached as Exhibit G is a true and correct copy of an email from Lance Gotthoffer of

Chaitman, LLP, to Tristan Fleming, of GSS Data Services, Inc., dated June 14, 2016

   9. Attached as Exhibit H is a true and correct copy of excerpts of the deposition testimony

of James Kosch, dated January 8, 2020.

   10. Attached as Exhibit I is a true and correct copy of excerpts of the deposition testimony of

Lance Gotthoffer, dated February 12, 2020.

   11. Attached as Exhibit J is a true and correct copy of a July 19, 2016 invoice submitted by

McCarter & English, LLP, to Chaitman, LLP, for services rendered to Defendant Trusts.

   12. Attached as Exhibit K is a true and correct copy of excerpts of the deposition testimony

of Donald Uderitz, dated February 6, 2020.

        Pursuant to 28 U.S.C. § 1746, I declare under penalty of perjury that the foregoing is true

and correct.


Dated: April 30, 2020




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                                   Respectfully submitted,

                                   Attorneys for Plaintiff
                                   Consumer Financial Protection Bureau

                                   THOMAS WARD
                                   Enforcement Director

                                   DEBORAH MORRIS
                                   Deputy Enforcement Director

                                   ALUSHEYI WHEEELER
                                   Assistant Litigation Deputy

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                                   Washington, DC 20552
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                                  CERTIFICATE OF SERVICE

         I hereby certify that on May 7, 2020, I electronically filed the Redacted Declaration of
Gabriel Hopkins in Support of Plaintiff’s Reply in Support of its Motion to Approve the Proposed
Consent Judgment with the Clerk of Court using CM/ECF which will send notification of such
filing(s) to all parties to this matter registered for CM/ECF.

        I hereby further certify that on May 7, 2020, I sent a copy of the Redacted Declaration of
Gabriel Hopkins in Support of Plaintiff’s Reply in Support of its Motion to Approve the Proposed
Consent Judgment by email to Intervenor Wilmington Trust Company which is agent authorized to
accept service on behalf of the Defendants.

Dated: May 7, 2020

                                                            /s/ Gabriel Hopkins
                                                            Consumer Financial Protection Bureau
                                                            1700 G St. NW
                                                            Washington, DC 20552
                                                            gabriel.hopkins@cfpb.gov

                                                            Attorney for Plaintiff Consumer
                                                            Financial Protection Bureau




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